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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                  ALEXANDRIA DIVISION


 NEFERTITI GILBERT ET AL                                  CASE NO. 1:25-CV-00421

 VERSUS                                                   JUDGE DRELL

 HARRIS COUNTY TX ET AL                                   MAGISTRATE JUDGE PEREZ-MONTES

                                               ORDER

        Considering the Proposed Plan of Work submitted herein,

        IT IS ORDERED that the Plan of Work be and is hereby accepted and shall become the
 Scheduling    Order     in    this    case,    subject     to    the   following     modifications:
 ______________________________________________________________________________
 ______________________________________________________________________________
        It appearing to the Court that the provisions of the Plan of Work will be satisfied on October
 14, 2026,
        IT IS FURTHER ORDERED that a pretrial conference be held, in Chambers, on February

 18, 2027 beginning at 1:30 p.m.

        IT IS FURTHER ORDERED that the Clerk of Court send out the Civil Case Management

 Order No. 2 – Pretrial Proceedings.

        IT IS FURTHER ORDERED that counsel are to review this Court’s Standing Order-

 Possession and Use of Electronic Devices in the Courtroom found on our website at

 www.lawd.uscourts.gov on Judge Dee D. Drell’s forms page.

        THUS DONE in Chambers on this _________
                                        24th               June
                                                day of ________________, 2025.



                                                              Joseph H. L. Perez-Montes
                                                             United States Magistrate Judge
